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                 UNITED STATES DISTRICT COURT

                SOUTHERN DISTRICT OF GEORGIA

                         STATESBORO DIVISION


BOB AARON MIKELL                           )
                                           )
v.                                         ) Case No. CV609-065
                                           )          CR606-026
UNITED STATES OF AMERICA                   )


                  REPORT AND RECOMMENDATION

       Bob Aaron Mikell pled guilty to conspiracy to possess with intent to

distribute and to distribute cocaine and cocaine base, in violation of 21

U.S.C. §§ 846 and 841(a)(1), and 18 U.S.C. § 2. CR606-026, doc. 702. He

cooperated with the government, received a reduced, 192-month

sentence, then unsuccessfully appealed on sentencing-unreasonableness

grounds. Id. at 21; doc. 751 at 37-38, doc. 839; United States v. Mikell,

284 F. App’x 707 (11th Cir. 2008). He later filed a “Notice of Motion For

Relief Pursuant to 28 U.S.C. § 2255 to Vacate/Set Aside,” and attested

that in June 2008 he sought state habeas relief against the prior

convictions used to enhance his federal court sentence. Doc. 985 at 2. As
1
  Because of formatting issues, the Court's docketing system often “screen-prints” on
each document's page pagination different than the original, paper-copy of the
document. All “doc.” page numbers cited here are the “screen-print” numbers.
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of August 12, 2009, he asserted, “the three writs [were] pending in the

Supreme Court of Georgia, under review.” Id. He evidently was anxious

about the one-year limitation period when filing a § 2255 motion here.

Nevertheless, this Court deemed it a “placeholder motion” designed to

elicit legal advice about the § 2255 limitations period (i.e., whether he

was going to exceed it). Doc. 992, reported at 2009 WL 3201769. Since

the motion was not ripe, the Court dismissed it without prejudice. Doc.

992, adopted, docs. 999, 1000.

     Using a strange title (“Motion of Pure Plea. . . .”), Mikell later

renewed his § 2255 motion, this time contending that his prior

convictions are invalid, but not adducing any evidence (e.g., state court

judgments vacating them). Doc. 1037. Conceding timeliness, the

government moved the Court “to docket [Mikell’s latest] § 2255 motion

and [to institute a] Briefing Schedule.” Doc. 1038. The Court granted

that, doc. 1041, thus revived Mikell’s earlier-dismissed § 2255 motion,

docs. 985, 997, and took further briefing. Docs. 1042, 1048, 1072, 1096,

1098. See doc. 1098 at 2-3 (government’s brief detailing this result).

II. ANALYSIS

     Ignoring Mikell’s non-sensical filings (e.g., that he “was

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indigenously born a free national ‘Moor’ Moslem African descendant,”

thus is the victim of “denationalization and genocide,” and the entire

federal court system therefore has no jurisdiction over him and has

violated the Ex Post Facto Clause, doc. 1097 at 1-13 ¶¶ 1-20), 2 three

general categories of claims emerge. First, his lawyer -- Jason Carl

Pedigo -- was ineffective in various ways. Doc. 997 at 13-35; see also doc.

998; & doc. 1072 at 13 ¶ 20 (“Mikell argues that his plea of guilty was

entered based on counsel’s erroneous advice about all options available to

Mikell, including the improper advice prior to and during the [Fed. R. Cr.

P. 11] proceeding,” hence, his guilty plea) (emphasis added). Because of


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    In fact, lucid thought only intermittently runs through Mikell’s filings. His
October 21, 2009 filing will also be disregarded as non-sensical, as it pivots off his
self-declaration that he is a “Moorish” descendant over whom the United States has
no jurisdiction. Doc. 1097 (CV609-065, doc. 12). His “Motion of Pure Pleading,” doc.
1037 (CV609-065, doc. 13), is more lucid, so it will be addressed. The government
responded to that, doc. 1048 (CV609-065, doc. 17), but Mikell replied with more
“Moorish” fantasizations, doc. 1042 (CV609-065, doc. 16), which will also be ignored.
His later-filed “Traverse” for the most part brings him back down to earth again, doc.
1072 (CV609-065, doc. 28), so all but ¶¶ 37-43 (his slavery-based arguments) of that
will be considered, along with his opening brief and affidavit, docs. 997 & 998.

  Meanwhile, Mikell filed, inter alia, a “motion reserving the right to file additional
motions,” doc. 1071 (CV609-06,5 doc. 27), which the Court denied as moot because he
has been free to file as many reply briefs as he wants. Doc. 1078 (CV609-065, doc.
29). He later filed a “Motion for Leave to file Motion for Reconsideration,” doc. 1096
(CV609-065, doc. 30), which the government opposed as a constructive and untimely
motion to amend his § 2255 motion. Doc. 1098 (CV609-065, doc. 31). Mikell then
replied to that response. Doc. 1103 (CV609-065, doc. 33). The district judge denied
his “Reconsideration” motion (i.e., doc. 1096, CV609-065 doc. 30) on procedural
grounds. Doc. 1106 (CV609-065 doc. 34).
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that, Mikell insists he is now entitled to more or less a “line-by-line”

challenge to the government’s case against him. Docs 997, 998, & 1072.

     Second, he contends that even though the state habeas court

refused to vacate his underlying state convictions, this Court should act

as if it did because he should have won there. Doc. 1096 at (contending

that state court records show his prior state court convictions -- used by

this Court to enhance his federal sentence -- are “defective” for various

reasons) (again, as a standalone motion, this was denied on procedural

grounds, doc. 1106). And third, Mikell alleges defects in the actual

guilty plea and sentencing procedures that occurred in his case. These

include his attorney’s failure to competently challenge the prior

convictions, as well as shepherd his mitigation witnesses and cooperation

efforts toward a reduced sentence. Doc. 997 at 11-13.

     A. Governing Standards

     Four sets of governing principles must be applied here. First,

Mikell “bears the burden of establishing the need for § 2255 relief, as

well as that of showing the need for an evidentiary hearing.” Oung v.

United States, 2010 WL 2037379 at * 2 (D. Mass. May 18, 2010); see also

Williams v. Allen, 598 F.3d 778, 788 (11th Cir. 2010). He thus must

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demonstrate that any claimed error constitutes “a fundamental defect

which inherently results in a complete miscarriage of justice.” United

States v. Addonizio, 442 U.S. 178, 185 (1979) (quotes and cite omitted).

        Second, any claims not raised on direct appeal are procedurally

defaulted, Lynn v. United States, 365 F.3d 1225, 1234 (11th Cir. 2004),

though claims of ineffective assistance of counsel (IAC) 3 are not.

Massaro v. United States, 538 U.S. 500, 504 (2003). 4 Third, “the two-


3 In Strickland v. Washington, 466 U.S. 668, 687 (1984), the Supreme Court created
a two-part test for determining whether counsel’s assistance was ineffective. First,
the movant must demonstrate that his attorney’s performance was deficient, which
requires a showing that “counsel made errors so serious that counsel was not
functioning as the ‘counsel’ guaranteed by the Sixth Amendment.” Id. Second, he
must demonstrate that the defective performance prejudiced the defense to such a
degree that the results of the trial cannot be trusted. Id.

   Under the performance prong, the reasonableness of an attorney’s performance is
to be evaluated from counsel’s perspective at the time of the alleged error and in light
of all the circumstances. Id. at 690. The movant carries a heavy burden, as
“reviewing courts must indulge a strong presumption that counsel’s conduct falls
within the wide range of professional assistance; that is, the [movant] must overcome
the presumption that, under the circumstances, the challenged action might be
considered sound trial strategy.” Id. at 689. Indeed, the movant must show that “no
competent counsel would have taken the action that his counsel did take.” Ford v.
Hall, 546 F.3d 1326, 1333 (11th Cir. 2008) (quoting Chandler v. United States, 218
F.3d 1305, 1315 (11th Cir. 2000) (en banc)). The prejudice prong requires movants to
establish that there was a reasonable probability that the results would have been
different but for counsel’s deficient performance. Kimmelman v. Morrison, 477 U.S.
365, 375 (1986); Strickland, 466 U.S. at 696. “A reasonable probability is a
probability sufficient to undermine confidence in the outcome.” Strickland, 466 U.S.
at 694; see also Lightbourne v. Dugger, 829 F.2d 1012, 1022 (11th Cir. 1987); Boykins
v. Wainwright, 737 F.2d 1539, 1542 (11th Cir. 1983).
4
    As this Court previously explained:

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part Strickland v. Washington test applies to challenges to guilty pleas

based on ineffective assistance of counsel.” Hill v. Lockhart, 474 U.S. 52,

58 (1985); Lalani v. United States, 315 F. App’x 858, 860-61 (11th Cir.

2009).

      And fourth, a defendant who enters an unconditional plea of guilty

“may not thereafter raise independent claims relating to the deprivation

of constitutional rights that occurred prior to the entry of the guilty

plea.” Tollett v. Henderson, 411 U.S. 258, 267 (1973) (emphasis added).

That is, “[a] defendant’s plea of guilty, made knowingly, voluntarily, and

with the benefit of competent counsel, waives all non-jurisdictional

defects in that defendant’s court proceedings.” United States v. Pierre,

120 F.3d 1153, 1155 (11th Cir. 1997); see also United States v. Patti, 337

F.3d 1317, 1320 (11th Cir. 2003). The bar applies both on appeal and on


   “Under the procedural default rule, a [movant] generally must advance an
   available challenge to a criminal conviction or sentence on direct appeal or else
   [he] is barred from presenting the claim in a § 2255 proceeding.” Lynn v.
   United States, 365 F.3d 1225, 1234 (11th Cir.2004). Accordingly, any grounds
   raised here that could have been raised on appeal are procedurally defaulted
   unless [Mikell] can establish cause and prejudice excusing his default (or
   establish his actual innocence of the crime). Id. at 1234 (citing Bousley v.
   United States, 523 U.S. 614, 622 (1998)); United States v. Nyhuis, 211 F.3d
   1340 (11th Cir. 2000). It is well established that “constitutionally ‘[i]neffective
   assistance of counsel ... is cause’”for excusing a procedural default. McCleskey
   v. Zant, 499 U.S. 467, 494 (1991) (citations omitted).

Mills v. United States, 2010 WL 4237802 at * 2 (S.D. Ga. Sep. 29, 2010).
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collateral attack. See United States v. Broce, 488 U.S. 563, 569 (1989).

“A defendant who wishes to preserve appellate review of a non-

jurisdictional defect while at the same time pleading guilty can do so only

by entering a ‘conditional guilty plea’ in accordance with Federal Rule of

Criminal Procedure 11(a)(2).” Pierre, 120 F.3d at 1155.

      Defendants who have entered an unconditional guilty plea

therefore may challenge only their pre-plea constitutional claims by

showing that the advice they received from counsel undermined “the

voluntary and intelligent character of the plea.” Tollett, 411 U.S. at 267.

This includes “defects in the procedure by which the plea was received or

circumstances which make the plea other than voluntary, knowing and

intelligent.” 5 W AYNE R. LAFAVE, ET AL., C RIMINAL P ROCEDURE § 21.6(a)

(3d ed. 2010). It also includes cases where the guilty plea was “induced

through threats, misrepresentations, or improper promises, [such that]

the defendant cannot be said to have been fully apprised of the

consequences of the guilty plea. . . .” Williams v. McNeil, 2010 WL

3384927 at * 5 (S.D. Fla. Jul. 20, 2010) (citing Mabry v. Johnson, 467

U.S. 504, 509 (1984)).

      Otherwise, they have waived all substantive claims that could have

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been raised before the plea, such as suppression-based claims. Franklin

v. United States, 589 F.2d 192, 194-95 (5th Cir. 1979) (“By entering a

knowing, voluntary, intelligent guilty plea on the advice of competent

counsel, [Petitioner] has waived all nonjurisdictional complaints ... [such

as] claims regarding Miranda warnings, coerced confessions, perjury and

illegal searches and seizures....”); Washington v. United States, 2010 WL

3338867 at * 15 (S.D. Ala. Aug. 5, 2010) (collecting Eleventh Circuit

cases denying habeas relief on suppression-based IAC claims and

concluding that, “[b]ecause all of Washington's asserted claims of

ineffective assistance of counsel relate to the suppression issue, the

denial of which has been waived . . . they have been waived by

petitioner's entry of a knowing and voluntary plea. . . .”).

      B. Mikell’s Pre-Plea Claims

      Mikell, who pled guilty unconditionally, cites no legally

recognizable involuntariness grounds (e.g, that he was threatened or

misled by his lawyer, the judge, etc.) that would undermine his guilty

plea. 5 His overarching assertion here is that because Pedigo did not fully

5 See doc. 1110 at 11 (“THE COURT: Mr. Bob Aaron Mikell, are you under any
coercion or force, or threats to plead guilty? DEFENDANT MIKELL: No, sir.”); id.
at 39 (“THE COURT: Do you have any complaints against your lawyer, Mr. Mikell.
DEFENDANT MIKELL: No, sir. No.”); id. at 43 (“THE COURT: Mr. Mikell, you've
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investigate and litigate any pre-plea claim that Mikell has since thought

of, he did not enjoy the benefit of any such successful claim (including

any sense of increased, plea-bargaining leverage that might have been

evoked), so his guilty plea -- as negotiated without such benefit -- is now

“involuntary.”

       Of course, that simply ignores the fact that by “entering into the

negotiated plea agreement, [Mikell] was telling his lawyer not to conduct

any further investigation and not present at a trial proceeding any legal

defenses that he may be entitled to as it relates to his case.” Glaubman

v. United States, 2009 WL 2970495 at * 20 (S.D. Fla. Sep. 16, 2009). Put

another way, that was the plea bargain here -- spare the government

from having to respond to all the suppression and other pre-plea issues

Mikell now seeks to raise in exchange for reduced sentence exposure. 6


had enough time to talk to your lawyer. Is that correct? DEFENDANT MIKELL:
Yes, sir.”).
6
    See doc. 919 (plea agreement bearing government’s agreement that Mikell could
plead guilty to “lesser included offense” in Count 1 of indictment, plus government’s
“sentence-reduction” promises); doc. 686 (government’s U.S.S.G. § 5K1 .1 motion for
a downward departure); doc. 751 at 20-21 (sentencing transcript showing
prosecutor’s request for reduction in exchange for Mikell’s guilty plea and helpful
testimony against co-defendants). Mikell, for that matter, raises no allegation that
the government failed to uphold its end of the bargain. Nor does he allege in his
lengthy affidavit (doc. 998) that he would not have pled guilty had his lawyer litigated
the suppression and other pre-plea issues.

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See Premo v. Moore, ___ U.S. ___, 2011 WL 148253 at * 7 (Jan. 19, 2011)

(upholding a state court’s no-IAC determination, Court underscored the

give and take of a plea-bargain premised on a dropped suppression

motion).

       Mikell thus wants to renege. He cannot. By pleading guilty and

thus waiving all nonjurisdictional defects, 7 he limits this Court’s focus

only on whether he entered into a voluntary plea, and thus whether he

understood the law in relation to the indictment’s alleged facts. Tomas-

Gostas v. United States, 2009 WL 3232165 at * 3 (M.D. Fla. Sept. 30,

2009) (“counsel need only provide his client with an understanding of the

law in relation to the facts, so that the accused may make an informed

and conscious choice between entering a guilty plea and going to trial.

Wofford v. Wainwright, 748 F.2d 1505, 1508 (11th Cir. 1984).”);

Glaubman, 2009 WL 2970495 at * 20.

       With one exception, addressed and rejected below, Mikell does not

claim that he did not understand the facts and the elements of the

7   The “jurisdictional exception” is discussed in 5 L AFAVE, C RIMINAL P ROCEDURE §
 21.6(a). See also United States v. Sealed Appellant, 526 F.3d 241, 243 (5th Cir. 2008)
 (guilty plea waived defendant’s claim that 18 U.S.C. § 2251, under which he was
 charged, exceeded Congress's power under the Commerce Clause, because he raised
 no jurisdictional defect; Commerce Clause challenge addressed Congressional, not
judicial jurisdiction, and it is only the latter type of claim that cannot be waived).

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offense upon which the charge rested. Therefore, his pre-plea,

“Suppression of Wiretap evidence,” telephone intercept, alibi witness,

(etc.) claims, doc. 997 at 2-3 (Issues A-E & G), as detailed in doc. 997 at

1-11, plus those set forth in doc. 997 at 13 11 30 (A)(1)-(3) & ¶ 13(B); at

14-21 1111 33-46 are denied as “guilty-plea waived, ” 8 so the Court will

reach only those claims set forth at doc. 997 at 11-12 1111 23-25, 1111 26-29,

as well as at 13 11 30 (A) (4) & (5), 11 30 (C), as further briefed in doc. 1072

(Mikell’s “Traverse”) at 7-8 1111 13-14, and at 19-30 1111 26-34.

      C. Plea Proceeding and Sentencing Claims

      Guilty-plea proceeding and sentencing-based claims, in contrast,

face different standards because they are not “pre-plea.” See, e.g.,

Hudson v. United States, 727 F.Supp.2d. 1376, 1381 (S.D. Fla. 2010)

(procedural default on the part of a guilty-plea defendant moving for

vacation of sentence was caused by defense counsel's ineffective


8
  Additionally, because Mikell entered an unconditional guilty plea, Pedigo (who also
represented him on appeal) was foreclosed from raising the suppression issues on
appeal. Thus, although Mikell does not expressly allege that Pedigo performed
deficiently on appeal, such a claim would be meritless in any event. United States v.
White, 136 F. App'x 227, 228-29 (11th Cir. 2005) (“A district court's refusal to
suppress evidence is non-jurisdictional and is waived by a guilty plea.”). Further,
under Strickland’s prejudice prong, Mikell must establish “that there is a reasonable
probability that, but for counsel's errors, he would not have pleaded guilty and would
have insisted on going to trial.” Hill, 474 U.S. at 59-60. Nowhere in his affidavit
(doc. 998) does he allege that.

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assistance in failing to raise at sentencing new and compelling

arguments that defendant's prior conviction for felony fleeing and

eluding with siren and lights activated was not a “crime of violence” for

purposes of career offender sentencing; defendant suffered prejudice as a

result and thus met cause and prejudice exception to procedural default).

      1. Mikell’s “5K1.1 Cooperation”

      Citing United States v. Leonti, 326 F.3d 1111 (9th Cir. 2003) and

United States v. Ming He, 94 F.3d 782 (2nd Cir. 1996), Mikell faults

Pedigo for failing to assist him in cooperating with the government to

win optimum sentence-reduction consideration. 9 Doc. 997 at 3 ¶ F; id. at

11-12; doc. 998 at 11; doc. 1072 at 29-30 ¶ 33. Leonti reasoned that, “as

substantial assistance has become the last, best hope of so many

defendants, the guarantee of competent counsel must apply to the

process of seeking such a recommendation.” Leonti, 326 F.3d at 1118;

see also id. at 1119 ("[A]n attorney's assistance is critical to the

cooperation process in a number of respects, including, but not limited

9  The district court “may depart from the guidelines ... [u]pon motion of the
government stating that the defendant has provided substantial assistance,” and the
comments to the provision state that “[s]ubstantial weight should be given to the
government's evaluation of the extent of the defendant's assistance.” U.S.S.G.
Manual § 5K1.1 & cmt. n. 3 (2010). This is the same standard as existed in 2008.
U.S.S.G. Manual § 5K1.1 & cmt. n. 3 (2008). As noted supra, Mikell exploited the §
5K1.1 option by cooperating with the government in this case.
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to, facilitating communication between the defendant and the

government, attending proper sessions, ascertaining the government's

expectations and whether the defendant is satisfying them,

communicating the client's limitations to the government, and

establishing a record of attempts to cooperate."); cf. Ming He, 94 F.3d at

792 (defendant who is a cooperating witness is entitled to have counsel

present at prosecutor's debriefing interview).

     Here, however, Mikell fails to show Strickland prejudice. Even

though he agreed to cooperate with government agents, he insists his

lawyer should have been present but was not, and this prejudiced him.

But he never says how, and in fact the record shows that the government

was pleased with his cooperation -- it sought a sentence reduction

because of it. Doc. 751 at 19-20. The Probation Officer concurred: PSI

1111 21-24 (noting Mikell’s cooperation); id. 1111 28-29 (recommending

reduction for accepting responsibility). Mikell thus at best speculates

that he would have fared even better had Pedigo sat next to him during

his cooperation with government agents. That dog won’t hunt. United

States v. Mincey, 2010 WL 2636022 at * 2 (S.D.Ga. Jun. 29, 2010) (a §

2255 movant “cannot rest on speculation, conclusory assertions, or the

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mere suggestion that something might have been discovered underneath

a newly turned stone.”). 10 Mikell fails to show what difference it would

have made had Pedigo sat next to him during any “§ 5K1.1” debriefing.

Nor does he show what difference any additional and evidently

cumulative, mitigation witnesses would have made: 3 x 0 = 6 x 0.

             2. Guilty Plea Hearing Claim

       Mikell next complains of Pedigo’s “[f]ailure to explain elements of

offense.” Doc. 1072 at 30 ¶ 35. He initially intermixed this with his

career-offender based claims reached infra, doc. 997 at 34-35 ¶¶ 68-69,

but he later limits this claim to the government’s failure “to prove that

the records [sic] supports that Mikell was admonished of such elements.”

Id. at 30-31 ¶ 35. The guilty plea transcript shows, however, that the

district judge explained the elements, doc. 1110 at 44-48, so any attorney

error is harmless on that score.

       Mikell also complains that Pedigo failed to explain to him “that


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   Even more baseless is Mikell’s post-conviction claim that he cooperated with state
agents, and Pedigo thus evidently was supposed to then pitch that to the federal
prosecutor for a further sentence reduction. Doc. 998 at 12 ¶¶ 66-67. Mikell does not
even hint at any legal duty Pedigo owed him beyond furnishing representation for his
direct appeal, much less how this establishes fundamental error. Again, conclusory
claims warrant no evidentiary hearing, only summary treatment. Allen v. Secretary,
Florida Dept. of Corrections, 611 F.3d 740, 745 (11th Cir. 2010); McKinney v. Jarriel,
2010 WL 4313394 at * 4 (S.D.Ga. Oct. 8, 2010).
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conspiracy and aiding and abetting were the same and carried the same

amount to [sic] time.” Doc. 1072 at 31. He then picks at evidentiary

infirmities in the government’s case against him. Id. at 31-32. These

claims are meritless, as the district judge fully explained the elements of

the offense and warned him of the sentencing range, doc. 1110 at 44-48,

to which he expressed no objection and in fact stated that he understood.

Id. at 47-48. For that matter, the Court was not obligated to provide

notice of a potential guideline enhancement prior to accepting his guilty

plea. See United States v. Bozza, 132 F.3d 659, 661 (11th Cir. 1998). Nor

was it required to advise him of specific guideline provisions, only the

statutory minimum and maximum and that the Court would be obligated

“to calculate the applicable sentencing-guideline range and to consider

that range, possible departures under the Sentencing Guidelines, and

other sentencing factors under 18 U.S.C. § 3553(a). . . .” Fed. R. Cr. P.

11(b)(1)(m) (2007).

           3. Sentencing-range Claims

     All of Mikell’s sentencing-range based claims, including those tied

to his prior state court convictions, fail. The PSI noted seven prior state

court misdemeanor and felony convictions, PSI at 15-18 1111 43-49, then

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concluded that two of them -- his 1994 and 1997 state court “felony

convictions in involving sale of cocaine and possession of cocaine with

intent to distribute” -- supported career-offender treatment under

U.S.S.G. § 4B1.1, with a criminal history category of VI. PSI at 18 11 51.

      Pedigo objected to several of his priors. See “Addendum to the

Presentence Report” (noting objections to PSI 1111 39, 44, 46 & 51). But

as the prosecutor noted during Mikell’s sentencing hearing: “None of

[the non-1994 and 1997] charges are driving the boat here. He has got

two [the 1994 and 1997] prior felony drug convictions.” Doc. 751 at 28-

29. Thus, the prosecutor correctly argued, even if all other prior state

convictions were ignored, Mikell’s sentencing range, as based only on

Mikell’s 1994, “sale of cocaine” state-court conviction, PSI ¶ 45, along

with his 1997 cocaine possession/distribution conviction, PSI ¶ 46,

would remain unchanged. See U.S.S.G. § 4B1.1(a) (“A defendant is a

career offender if . . . the defendant has at least two prior felony

convictions of either a crime of violence or a controlled substance

offense.”).

      Mikell says that on the face of his 1994 and 1997 convictions this

Court should grant him relief because they are void for various reasons

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(he was unrepresented, etc.). Doc. 1037, 1096. Normally procedural

default would apply here, as this claim was not raised on appeal.

Daniels v. United States, 532 U.S. 374, 382 (2001) (applying procedural

default rules and stating, “[a] defendant may challenge a prior

conviction as the product of a Gideon violation in a § 2255 motion, but

generally only if he raised that claim at his federal sentencing

proceeding.”); Reed v. United States, 2009 WL 3617758 at * 5 (M.D. Ga.

Oct. 28, 2009). But Mikell also contends that Pedigo was ineffective in

failing to knock out these convictions at sentencing, doc. 997 at 12-13;

id. at 13 ¶ 30(A)(5); id. at 23-23; id. at 30-31; doc. 1072 at 19-23, and the

Massaro exception (indirectly review the claim to determine whether

Pedigo provided JAC and, if so, whether Mikell was prejudiced) 11

arguably constrains a limited look now. 12

       The problem for Mikell, however, is that Pedigo then faced a steep

11
    “In the case of ineffective assistance during the punishment phase, prejudice is
established if ‘there is a reasonable probability that but for trial counsel's errors the
defendant's non-capital sentence would have been significantly less harsh.’ Spriggs v.
Collins, 993 F.2d 85, 88 (5th Cir.1993); United States v. Bartholomew, 974 F.2d 39,
42 (5th Cir.1992). A reasonable probability is a probability sufficient to undermine
confidence in the outcome. Strickland, 466 U.S. at 694.” Perez v United States, 2009
WL 2524607 at *4 (S.D. Fla. Jul. 22, 2009).
12
   Mikell does not dispute that his sentence fell within the statutory limits, and thus
is otherwise insulated from § 2255 review on those grounds alone. Fernandez v.
United States, 941 F.2d 1488, 1494 (11th Cir. 1991).

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barrier, as he could not challenge the 1994 and 1997 convictions except

on Gideon (that Mikell had been unrepresented) grounds:

  Generally, a defendant may not collaterally challenge a prior
  conviction used to enhance his sentence during the federal
  sentencing hearing. United States v. Axam, 292 Fed.Appx. 776,
  780-81 (11th Cir.2008) (citing Custis v. United States, 511 U.S.
  485, 497, 114 S.Ct. 1732, 128 L.Ed.2d 517 (1994)). The only
  recognized exception to this rule is where a defendant was denied
  the assistance of counsel in the prior proceeding in violation of his
  Sixth Amendment right to counsel. United States v. Roman, 989
  F.2d 1117, 1120 (11th Cir.1993). In that instance, the prior
  conviction is “presumptively void” and may be challenged during
  the federal sentencing hearing. Id.

Johnson v. United States, 2009 WL 995472 at * 8 (M.D. Fla. Apr. 13,

2009) (footnote omitted). Nor could Pedigo challenge the prior

convictions on IAC grounds. United States v. Miller, 262 F. App’x 226,

231-32 (11th Cir. 2008); Axam, 292 F. App’x at 780-81.

     Pedigo therefore cannot be said to be ineffective for failing to

challenge Mikell’s 1994 and 1997 state convictions during sentencing.

As confirmed by the government, doc. 1098 (attachments), Mikell’s own

(2009-2010) state habeas efforts to overturn those convictions have

failed. Hence, Pedigo cannot be said to have prejudicially erred. And

this Court accepts the state habeas court’s factual findings and legal

conclusions -- that Mikell was represented for his 1994 conviction,

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voluntarily and knowingly pled guilty on it, and suffered no due process

violation as a result of it, doc. 31-1 at 4-10; also, he validly waived his

right to counsel, and thus knowingly and voluntarily pled guilty on his

1997 conviction, id. at 10-17); see also doc. 1106 (the district judge in

this case denied Mikell’s “motion for reconsideration” on procedural

grounds -- that Fed. R. Civ. P. 60(b) cannot be invoked in a criminal

case). 13 Therefore, Mikell cannot show Strickland prejudice on these

sentencing-based claims.



13
   Somewhat coyly, Mikell acknowledges that the state habeas court’s adverse ruling
but asks this Court to ignore it and instead focus on facts he’s selectively elicited
from that court’s proceeding -- he insists they show that he went unrepresented for
his 1994 conviction. Doc. 1096; doc. 1103. He then asks this to Court rule the 1994
conviction invalid (he only needs to knock out one of the two prior state court
convictions), and thus undo his career-offender enhancement here: “Mikell does not
contest the State court's resolution, just the 'factual evidence' established on records,
that does possess sufficient disqualification of the 1994 prior conviction to support
this Court's recommendation to categorize him as a career offender under USSG §
4b1.1 & 2.” Doc. 1103 at 9-10. But Mikell has now litigated himself out of Court
because, as he says, he does not contest the State court's resolution.

   Thus, even if somehow he brought a 28 U.S.C. § 2254 petition now (the proper
vehicle, by the way, for challenging the 2009-2010 state habeas court rulings -- not an
amendment of his pending § 2255 motion), and even if that § 2254 petition was not
time-barred (it surely would be), he nevertheless has conceded the state court’s legal
resolution (that his convictions are not constitutionally infirm). This Court must
otherwise accept such resolution until it is shown to be unreasonable under the 28
U.S.C. § 2254(d) standards recently applied in Premo, 2011 WL 148253 at * 4, and
Harrington v. Richter, ___ U.S. ___, 2011 WL 148587 at * 10 (Jan. 19, 2011).
Conceding its correctness is the opposite of what § 2254(d) requires. For these
reasons, his “motion for reconsideration” (doc. 1096) is denied on substantive
grounds, too. See doc. 1106 (district judge denied it on procedural grounds).
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           4. “Crack Cocaine Amendment Claim”

     Finally, Mikell complains that he contacted Pedigo in February,

2008 “about filing a motion for the ‘Crack Law” amendment

(presumably Sentencing Guidelines Amendment 706, which permits

courts to reduce sentences calculated pursuant to crack cocaine

guidelines), and thus that Pedigo, post-conviction violated some duty to

act on that change in the law. Doc. 998 at 19-20 JJ 93-95. This issue is

frivolous on multiple grounds, not the least of which is the fact that, as

a career offender, Mikell would not have qualified for such relief. See

United States v. Ortiz, 327 F. App’x. 167, 168 (11th Cir. 2009) (“because

Ortiz was sentenced based on the career-offender offense level, she was

ineligible for a sentence reduction under Amendment 706.”).

III. CONCLUSION

     Bob Aaron Mikell’s 28 U.S.C. § 2255 “Motion For

Reconsideration,” doc. 1096, previously denied on procedural grounds,

doc. 1106, should also be DENIED on substantive grounds. Likewise,

his 28 U.S.C. § 2255 motion (doc. 985, as renewed, doc. 1037) should be

DENIED on substantive grounds.

     Applying the Certificate of Appealability (“COA”) standards set

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forth in Brown v. United States, 2009 WL 307872 at * 1-2 (S.D. Ga. Feb.

9, 2009) (unpublished), the Court discerns no COA-worthy issues at this

stage of the litigation, so no COA should issue. 28 U.S.C. § 2253(c)(1);

see Alexander v. Johnson, 211 F.3d 895, 898 (5th Cir. 2000) (approving

sua sponte denial of COA before movant filed a notice of appeal). And, as

there are no non-frivolous issues to raise on appeal, an appeal would not

be taken in good faith. Thus, in forma pauperis status on appeal should

likewise be DENIED. 28 U.S.C. § 1915(a)(3).

     SO REPORTED AND RECOMMENDED this 26th day of

January, 2011.




                                1JNIITED SL&TIS MAGISTRATE JUDGE
                                SOUTHERN DISTRICT of GEORGIA




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